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                                  Nebraska Supreme Court A dvance Sheets
                                          303 Nebraska R eports
                                                STATE v. MANJIKIAN
                                                 Cite as 303 Neb. 100



                                        State of Nebraska, appellee, v.
                                         Vazgen M anjikian, appellant.
                                                   ___ N.W.2d ___

                                          Filed May 10, 2019.     No. S-18-858.

                 1. Pleas: Appeal and Error. A trial court is afforded discretion in deciding
                    whether to accept guilty pleas, and an appellate court will reverse the
                    trial court’s determination only in case of an abuse of discretion.
                 2. Sentences: Appeal and Error. An appellate court will not disturb a sen-
                    tence imposed within the statutory limits absent an abuse of discretion
                    by the trial court.
                 3. Judges: Words and Phrases. A judicial abuse of discretion exists when
                    the reasons or rulings of a trial judge are clearly untenable, unfairly
                    depriving a litigant of a substantial right and denying just results in mat-
                    ters submitted for disposition.
                 4. Effectiveness of Counsel: Appeal and Error. Whether a claim of inef-
                    fective assistance of trial counsel may be determined on direct appeal is
                    a question of law.
                 5. ____: ____. In reviewing claims of ineffective assistance of counsel on
                    direct appeal, an appellate court decides only whether the undisputed
                    facts contained within the record are sufficient to conclusively deter-
                    mine whether counsel did or did not provide effective assistance and
                    whether the defendant was or was not prejudiced by counsel’s alleged
                    deficient performance.
                 6. Pleas. To support a finding that a defendant has entered a guilty plea
                    freely, intelligently, voluntarily, and understandingly, a court must inform
                    a defendant about (1) the nature of the charge, (2) the right to assistance
                    of counsel, (3) the right to confront witnesses against the defendant, (4)
                    the right to a jury trial, and (5) the privilege against self-incrimination.
                    The record must also establish a factual basis for the plea and that the
                    defendant knew the range of penalties for the crime charged.
                 7. Double Jeopardy. The Double Jeopardy Clause protects against three
                    distinct abuses: (1) a second prosecution for the same offense after
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                              STATE v. MANJIKIAN
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      acquittal, (2) a second prosecution for the same offense after conviction,
      and (3) multiple punishments for the same offense.
 8.   Double Jeopardy: Juries: Evidence: Pleas. In Nebraska, jeopardy
      attaches (1) in a case tried to a jury, when the jury is impaneled and
      sworn; (2) when a judge, hearing a case without a jury, begins to hear
      evidence as to the guilt of the defendant; or (3) at the time the trial court
      accepts the defendant’s guilty plea.
 9.   Double Jeopardy: Legislature: Intent: Sentences. Where the
      Legislature has demonstrated an intent to permit cumulative punish-
      ments, the Double Jeopardy Clause is not violated as long as the cumu-
      lative punishments are imposed in a single proceeding.
10.   Waiver: Constitutional Law: Intent: Presumptions: Words and
      Phrases. A waiver is ordinarily an intentional relinquishment or aban-
      donment of a known right or privilege, and courts indulge every reason-
      able presumption against waiver of fundamental constitutional rights.
11.   Waiver. The determination of whether there has been an intelligent
      waiver of a right must depend, in each case, upon the particular facts
      and circumstances surrounding that case, including the background,
      experience, and conduct of the accused.
12.   Pleas: Waiver. The voluntary entry of a guilty plea or a plea of no con-
      test waives every defense to a charge, whether the defense is procedural,
      statutory, or constitutional.
13.   Sentences. When imposing a sentence, the sentencing court is to con-
      sider the defendant’s (1) age, (2) mentality, (3) education and experi-
      ence, (4) social and cultural background, (5) past criminal record or
      record of law-abiding conduct, and (6) motivation for the offense, as
      well as (7) the nature of the offense, and (8) the amount of violence
      involved in the commission of the crime. The sentencing court is not
      limited to any mathematically applied set of factors.
14.   ____. The appropriateness of a sentence is necessarily a subjective
      judgment and includes the sentencing judge’s observation of the defend­
      ant’s demeanor and attitude and all the facts and circumstances sur-
      rounding the defendant’s life.
15.   Effectiveness of Counsel: Proof. To prevail on a claim of ineffective
      assistance of counsel under Strickland v. Washington, 466 U.S. 668, 104
      S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the defendant must show that
      counsel’s performance was deficient and that this deficient performance
      actually prejudiced his or her defense.
16.   Postconviction: Pleas: Waiver: Effectiveness of Counsel. Normally,
      a voluntary guilty plea waives all defenses to a criminal charge.
      However, in a postconviction proceeding brought by a defendant con-
      victed because of a guilty plea or a plea of no contest, a court will
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    consider an allegation that the plea was the result of ineffective assist­
    ance of counsel.
17. Convictions: Effectiveness of Counsel: Pleas: Proof. When a convic-
    tion is based upon a guilty plea, the prejudice requirement for an inef-
    fective assistance of counsel claim is satisfied if the defendant shows a
    reasonable probability that but for the errors of counsel, the defendant
    would have insisted on going to trial rather than pleading guilty.
18. Effectiveness of Counsel: Records: Appeal and Error. The fact that
    an ineffective assistance of counsel claim is raised on direct appeal does
    not necessarily mean that it can be resolved on direct appeal. The deter-
    mining factor is whether the record is sufficient to adequately review
    the question.
19. Trial: Effectiveness of Counsel: Evidence: Appeal and Error. An
    ineffective assistance of counsel claim will not be resolved on direct
    appeal if it requires an evidentiary hearing.

   Appeal from the District Court for Lancaster County: Susan
I. Strong, Judge. Affirmed.
  Jason E. Troia, of Dornan, Troia, Howard, Breitkreutz &amp;
Conway, P.C., L.L.O., for appellant.
  Douglas J. Peterson, Attorney General, and Melissa R.
Vincent for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Heavican, C.J.
                       INTRODUCTION
   Following a traffic stop in Lancaster County, Nebraska,
Vazgen Manjikian was charged by information with possession
of a controlled substance, a Class IV felony. During the course
of the traffic stop, an amount of amphetamine, a Schedule
II controlled substance, was located, along with $234,956.
Pursuant to a plea agreement, Manjikian was charged by
amended information with one count of attempted possession
of a controlled substance, a Class I misdemeanor. Manjikian
now appeals his conviction and sentence on various constitu-
tional grounds. We affirm.
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                   303 Nebraska R eports
                       STATE v. MANJIKIAN
                        Cite as 303 Neb. 100
                        BACKGROUND
   On January 24, 2018, a Lancaster County sheriff’s deputy
observed a vehicle, bearing New York license plates, traveling
westbound on Interstate 80 at mile marker 394 in Lancaster
County. The deputy noted that the vehicle was following
another vehicle at a distance of .39 seconds and at a speed of
73 miles per hour. The deputy initiated a traffic stop on the
vehicle for following too closely. As the deputy was attempt-
ing to stop the vehicle, he observed the two occupants making
furtive movements in the area around the center console of
the vehicle.
   Upon contacting the vehicle’s occupants, the deputy noted
the odor of raw marijuana emanating from the vehicle. The
deputy identified the driver as Kevin Conrado, and the only
passenger in the vehicle was identified as Manjikian. Conrado
was asked for the vehicle’s registration and paperwork, which
he retrieved from a backpack in the back seat. The vehicle’s
rental agreement identified the renter as an individual who
was later determined to be the brother of Manjikian. Further
investigation revealed that following a murder conviction in
California, Manjikian’s brother had been incarcerated for a
period of time preceding the initial rental period of the vehicle.
Upon inspecting the vehicle’s paperwork and rental agreement,
the deputy noted that the rental agreement had expired 4 days
prior, on January 20, 2018.
   A search of the vehicle resulted in the discovery of two
baggies of suspected methamphetamine found in the console
area between the driver and passenger seats. The content in the
baggies, as confirmed by the Nebraska State Patrol laboratory,
was found to be methamphetamine. Deputies noted that one
of the baggies was observed to have an end ripped open. The
contents of that baggie appeared to have been dumped into an
open drink container which was found in the vehicle and which
held an unknown liquid.
   Manjikian later admitted to a deputy that he possessed a
controlled substance in the vehicle; although he referred to the
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                           STATE v. MANJIKIAN
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substance as “Adderall,” it was later confirmed to be meth-
amphetamine. In addition to the methamphetamine, deputies
also discovered marijuana cigarettes in the center console area
and a total of $234,956 in U.S. currency. Conrado’s backpack
contained $11,300, and Manjikian was in possession of $376,
which was found on his person. The remainder of the cur-
rency was found stuffed inside three 64-ounce brownie mix
cans that were resealed to look as if they were in their origi-
nal condition.
   On March 27, 2018, Manjikian was charged by information
in Lancaster County District Court with possession of a con-
trolled substance (amphetamine), a Class IV felony.1 Manjikian
entered a plea of not guilty to the charge.
   On June 21, 2018, Manjikian, along with his trial counsel,
appeared before the district court at a change of plea hearing.
The parties advised the district court that they had reached an
agreement wherein Manjikian would plead no contest to an
amended information charging him with attempted posses-
sion of a controlled substance (methamphetamine) under Neb.
Rev. Stat. § 28-201(4)(e) (Reissue 2016) and § 28-416(3), a
Class I misdemeanor. In addition, Manjikian agreed to forfeit
any interest in the $234,956 that was seized during the traffic
stop that led to his arrest. The forfeiture agreement was in writ-
ing and stated, in pertinent part:
      Manjikian hereby enters into an agreement with the State
      of Nebraska in the above captioned matter and agrees
      that any interest he has in said $234,956.00 shall be
      forfeited to [U.S. Customs and Border Protection] pur-
      suant to federal forfeiture laws. . . . Manjikian consents
      to the administrative forfeiture of the $234,956.00 and
      will not file a claim for it. In agreeing to such forfeit­
      ure, . . . Manjikian waives his rights pursuant to Neb.
      Rev. Stat. §28-431 and the procedural requirements for
      such forfeitures and waives his rights as they relate

1
    See Neb. Rev. Stat. § 28-416(3) (Cum. Supp. 2018).
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      to claims of double jeopardy pursuant to the United
      States Constitution Amendment V, the Nebraska State
      Constitution Article I, section 12, and State v. Franco,
      257 Neb. 15 (1999);
         . . . Manjikian, having consulted with his attorney
      in the matter, now waives his rights freely, voluntarily,
      knowingly and intelligently without force, threat, coer-
      cion, duress, or promises, other than a plea agreement.
   Following a hearing in which the court advised Manjikian
of his rights and confirmed his understanding of such, the
district court found that Manjikian’s plea was “freely, volun-
tarily, knowingly and intelligently made” and adjudged him
guilty of the offense. The court then ordered a presentence
investigation and set a date for sentencing.
   Manjikian’s sentencing hearing was held on August 29,
2018. At the hearing, the district court sentenced Manjikian to
180 days’ imprisonment, with 2 days’ credit for time served.
Manjikian appeals.

                 ASSIGNMENTS OF ERROR
   In a brief prepared by appellate counsel, Manjikian claims
that the district court erred in (1) finding that Manjikian
made a free, voluntary, knowing, and intelligent plea; (2)
accepting a plea that Manjikian contends violates constitu-
tional protections against double jeopardy; and (3) abusing
its discretion in sentencing him to a term of incarceration.
Manjikian also contends that he received ineffective assist­
ance of trial counsel.

                   STANDARD OF REVIEW
   [1] A trial court is afforded discretion in deciding whether
to accept guilty pleas, and an appellate court will reverse
the trial court’s determination only in case of an abuse of
discretion.2

2
    State v. Wilkinson, 293 Neb. 876, 881 N.W.2d 850 (2016).
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                              STATE v. MANJIKIAN
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   [2,3] An appellate court will not disturb a sentence imposed
within the statutory limits absent an abuse of discretion by the
trial court.3 A judicial abuse of discretion exists when the rea-
sons or rulings of a trial judge are clearly untenable, unfairly
depriving a litigant of a substantial right and denying just
results in matters submitted for disposition.4
   [4,5] Whether a claim of ineffective assistance of trial coun-
sel may be determined on direct appeal is a question of law.5 In
reviewing claims of ineffective assistance of counsel on direct
appeal, an appellate court decides only whether the undisputed
facts contained within the record are sufficient to conclusively
determine whether counsel did or did not provide effective
assistance and whether the defendant was or was not preju-
diced by counsel’s alleged deficient performance.6
                           ANALYSIS
Manjikian’s Free, Voluntary, Knowing,
and Intelligent Plea.
   In his first assignment of error, Manjikian contends that the
plea agreement he entered into with the State was not entered
into freely, voluntarily, knowingly, or intelligently. According
to Manjikian, the district court failed to advise him that by
entering into the plea agreement, he waived his right to appeal
any adverse decisions had he filed pretrial motions or pro-
ceeded to trial. Manjikian argues that the court’s failure in this
respect results in his plea not being made freely, voluntarily,
knowingly, and intelligently.
   [6] Under our holding in State v. Lane,7 to support a find-
ing that a defendant has entered a guilty plea freely, intelli-
gently, voluntarily, and understandingly, a court must inform

3
    State   v. Steele, 300 Neb. 617, 915 N.W.2d 560 (2018).
4
    State   v. Clemens, 300 Neb. 601, 915 N.W.2d 550 (2018).
5
    State   v. Vanness, 300 Neb. 159, 912 N.W.2d 736 (2018).
6
    Id.7
    State   v. Lane, 299 Neb. 170, 907 N.W.2d 737 (2018).
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                            STATE v. MANJIKIAN
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a defendant about (1) the nature of the charge, (2) the right to
assistance of counsel, (3) the right to confront witnesses against
the defendant, (4) the right to a jury trial, and (5) the privilege
against self-incrimination. The record must also establish a
factual basis for the plea and that the defendant knew the range
of penalties for the crime charged.8
   Manjikian now argues, without binding authoritative sup-
port, that the court was also required, during the plea colloquy,
to advise him of the fact that his plea would result in the waiver
of his right to appeal any adverse decision had he filed pretrial
motions or proceeded to trial. Manjikian further contends that
the court was also required to advise him that appellate counsel
and costs would be provided, had he qualified.
   Manjikian would have us adopt a new prerequisite to accept-
ing a plea in the form of the American Bar Association’s
Standard 14-1.4(a)(vi), requiring the court to advise the defend­
ant that “by pleading guilty the defendant generally waives the
right to appeal, except the right to appeal a motion that has
been made, ruled upon and expressly reserved for appeal and
the right to appeal an illegal or unauthorized sentence.”9
   We have consistently held that the rule to be distilled from
our prior holdings is that in order to support a finding that a
plea of guilty or nolo contendere has been entered freely, intel-
ligently, voluntarily, and knowingly, the court must inform the
defendant concerning the nature of the charge,10 the right to
assistance of counsel,11 the right to confront witnesses against
the defendant,12 the right to a jury trial,13 and the privilege

 8
     Id.
 9
     ABA Standards for Criminal Justice, Pleas of Guilty, Standard 14-1.4(a)
     (vi) at 36 (3d ed. 1999).
10
     State v. Turner, 186 Neb. 424, 183 N.W.2d 763 (1971), disapproved on
     other grounds, State v. Irish, 223 Neb. 814, 394 N.W.2d 879 (1986).
11
     State v. Tweedy, 209 Neb. 649, 309 N.W.2d 94 (1981).
12
     Id.13
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against self-incrimination.14 The court must also examine the
defendant and determine whether he or she understands the
foregoing.15 Lastly, the court must ensure the record establishes
that there is a factual basis for the plea and that the defendant
knew the range of penalties for the crime with which he or she
is charged.16
   As we stated in State v. Irish, “[we recognize] that the work
of the ABA, although good and useful, nevertheless does not
rise to the status of legislative acts or judicial holdings.”17
Through painstaking judicial work, we have established the
minimum requirements for the court to accept a plea as being
entered freely, intelligently, voluntarily, and knowingly.
   Additionally, as we indicated in State v. Turner,18 a require-
ment of an item-by-item review of constitutional rights on
a guilty plea is a strained and a too extreme construction of
the U.S. Supreme Court’s holdings in Boykin v. Alabama19
and McCarthy v. United States.20 Both Boykin and McCarthy
dealt with a court’s duties under Fed. R. Crim. P. 11 as it
relates to a defendant’s voluntarily and intelligently made
plea agreement.
   Here, the record demonstrates that the district court advised
Manjikian at length about the nature of the charge, made sig-
nificant reference to his right to assistance of counsel, and
advised Manjikian of the right to confront witnesses against
him, the right to a jury trial, and the privilege against self-
incrimination. Beyond the required admonishments enumerated
in Lane, the court went on to specifically warn Manjikian that

14
     Id.
15
     Irish, supra note 10.
16
     Id.17
     Id. at 818, 394 N.W.2d at 882.
18
     Turner, supra note 10.
19
     Boykin v. Alabama, 395 U.S. 238, 89 S. Ct. 1709, 23 L. Ed. 2d 274 (1969).
20
     McCarthy v. United States, 394 U.S. 459, 89 S. Ct. 1166, 22 L. Ed. 2d 418     (1969).
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his plea would waive his right to additional hearings regarding
pretrial motions, had he subsequently decided to make any.
   Based on the foregoing analysis, Manjikian’s plea was
entered freely, voluntarily, knowingly, and intelligently. We
decline his invitation to adopt the American Bar Association’s
Standard 14-1.4(a)(vi), and we find his assignment of error to
be without merit.

Double Jeopardy.
   Manjikian next assigns that the district court erred and
abused its discretion in accepting his no contest plea. Manjikian
contends that such acceptance violated double jeopardy princi-
ples. Specifically, Manjikian argues that our precedent in State
v. Spotts 21 acts to bar the State from seeking both forfeiture
and subsequent criminal prosecution.
   At oral arguments, for the first time, the State argued that
the money seized during the traffic stop was abandoned prop-
erty, because Manjikian disclaimed ownership of the money in
a statement to law enforcement. The State further argues that
Manjikian cannot now claim double jeopardy applies because
of the forfeiture of the funds that he had earlier proclaimed
were not his. The State’s contention regarding abandonment
was not discussed below, nor was it specifically assigned
in their brief. We proceed, therefore, to analyze Manjikian’s
double jeopardy claim.
   The U.S. Supreme Court has noted that the constitutional
prohibition against double jeopardy was designed to protect
an individual from being subjected to the hazards of trial and
possible conviction more than once for an alleged offense.22 In
Benton v. Maryland,23 the Court applied the 5th Amendment’s

21
     State v. Spotts, 257 Neb. 44, 595 N.W.2d 259 (1999).
22
     Green v. United States, 355 U.S. 184, 78 S. Ct. 221, 2 L. Ed. 2d 199     (1957).
23
     Benton v. Maryland, 395 U.S. 784, 89 S. Ct. 2056, 23 L. Ed. 2d 707     (1969).
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protection against double jeopardy to the states through the
Due Process Clause of the 14th Amendment, noting that the
protection “represents a fundamental ideal in our constitu-
tional heritage.”24
   [7,8] The Double Jeopardy Clause protects against three
distinct abuses: (1) a second prosecution for the same offense
after acquittal, (2) a second prosecution for the same offense
after conviction, and (3) multiple punishments for the same
offense.25 In Nebraska, jeopardy attaches (1) in a case tried to a
jury, when the jury is impaneled and sworn; (2) when a judge,
hearing a case without a jury, begins to hear evidence as to the
guilt of the defendant; or (3) at the time the trial court accepts
the defendant’s guilty plea.26
   Manjikian’s double jeopardy claim in this case appears to be
based on the prohibition of multiple punishments for the same
offense, i.e., the seizure and jail sentence.
   In State v. Franco,27 we stated that since State v. One 1987
Toyota Pickup,28 we have determined that the Legislature
intended forfeiture actions pursuant to Neb. Rev. Stat.
§ 28-431 (Reissue 2008) to be criminal proceedings. In
Franco, a criminal defendant was charged with a crime and
faced the forfeiture of personal property seized during his
arrest. The district court concluded that the crime and the
actions leading to forfeiture constituted separate criminal
offenses so that the prosecution of both was not barred by
double jeopardy. On appeal, this court disagreed, instead
holding that a forfeiture action pursuant to § 28-431 necessar-
ily required the proof of a violation of chapter 28, article 4,
of the Nebraska Revised Statutes. In Franco, the defendant’s

24
     Id., 395 U.S. at 794.
25
     Spotts, supra note 21.
26
     State v. Thalken, 299 Neb. 857, 911 N.W.2d 562 (2018).
27
     State v. Franco, 257 Neb. 15, 594 N.W.2d 633 (1999).
28
     State v. One 1987 Toyota Pickup, 233 Neb. 670, 447 N.W.2d 243 (1989),
     overruled, Spotts, supra note 21.
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violation of § 28-416(1)(a)—the statute which charged him
with possession of a controlled substance—had to be proved.
We concluded that § 28-416(1)(a) was subsumed within
§ 28-431 and that as such, the two statutes were not defin-
ing separate offenses. In short, we held that the State could
not seek forfeiture of property and then proceed in a criminal
prosecution arising from the same set of facts without offend-
ing double jeopardy.29
   [9] However, we went on to note that the Blockburger
test, enumerated in Blockburger v. United States,30 which is
applied to prevent double punishment in situations where
the Legislature intended to provide only for a single pun-
ishment, did not prevent the State from seeking a crimi-
nal prosecution and a forfeiture in the same proceeding if
there was legislative intent to do so. We concluded that the
Nebraska Legislature intended for punishments pursuant to
§§ 28-416(1)(a) and 28-431 to be imposed cumulatively.31
Where the Legislature has demonstrated an intent to permit
cumulative punishments, the Double Jeopardy Clause is not
violated as long as the cumulative punishments are imposed
in a single proceeding.32
   In Spotts, we reinforced our holding in Franco. The defend­
ant in Spotts was arrested by the Nebraska State Patrol for
being in possession of a controlled substance with the intent
to deliver, a Class III felony. Before his criminal informa-
tion was filed, the State sought forfeiture of $14,177 found
on the defendant’s person at the time of his arrest. Following
his initial appearance at his criminal trial, he filed a plea in
bar alleging in pertinent part that the conduct which exposed
him to forfeiture of the $14,177 was the same conduct which

29
     See Franco, supra note 27.
30
     Blockburger v. United States, 284 U.S. 299, 52 S. Ct. 180, 76 L. Ed. 306     (1932).
31
     Franco, supra note 27.
32
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exposed him to liability and punishment for the possession
of methamphetamine. The defendant alleged that in order to
forfeit the money found on his person, he would have had to
commit one and the same offense as charged in the informa-
tion. He asserted that the prosecution for possession of meth-
amphetamine was barred, because said prosecution would
expose him to double jeopardy.
   In Spotts, we reiterated that forfeiture actions pursu-
ant to § 28-431 constituted criminal proceedings. We ulti-
mately found that Franco controlled, concluding that the
Nebraska Legislature intended for punishments pursuant to
§§ 28-416(1)(a) and 28-431 be imposed cumulatively. Where
the Legislature has demonstrated an intent to permit cumu-
lative punishments, the Double Jeopardy Clause is not vio-
lated as long as the cumulative punishments are imposed in
a single proceeding. In Spotts, we ultimately agreed with
the district court when it stated: “‘[I]f [a] forfeiture action
arises out of the underlying criminal case, the State is placed
in the position of having to decide whether to pursue the
forfeiture proceeding or whether to pursue the criminal
proceeding.’”33
   We observe that in 2016, the Legislature revised §§ 28-416
and 28-431.34 Because we find that Manjikian expressly
waived his constitutional right against double jeopardy when
he entered into the plea agreement,35 we express no opinion as
to whether the revisions enacted by the Legislature change the
viability of Franco and Spotts. Therefore we need not venture
into a comprehensive analysis under Spotts.
   [10,11] The U.S. Supreme Court has indicated that a
waiver is ordinarily an intentional relinquishment or aban-
donment of a known right or privilege, and courts indulge
every reasonable presumption against waiver of fundamental

33
     Spotts, supra note 21, 257 Neb. at 49, 595 N.W.2d at 262.
34
     See 2016 Neb. Laws, L.B. 1106, §§ 5 and 6.
35
     See State v. Dye, 291 Neb. 989, 870 N.W.2d 628 (2015).
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constitutional rights.36 The determination of whether there has
been an intelligent waiver of a right must depend, in each case,
upon the particular facts and circumstances surrounding that
case, including the background, experience, and conduct of
the accused.37
   In this case, Manjikian’s plea agreement in relevant part
specifically stated:
      In agreeing to such forfeiture, . . . Manjikian waives his
      rights pursuant to Neb. Rev. Stat. §28-431 and the pro-
      cedural requirements for such forfeitures and waives his
      rights as they relate to claims of double jeopardy pursu-
      ant to the United States Constitution Amendment V, the
      Nebraska State Constitution Article I, section 12, and
      State v. Franco, 257 Neb. 15 (1999)[.]
Based on the record, Manjikian has some formal education
and has previously been involved in the California criminal
justice system. Beyond his personal history which is inform­
ative of his background and understanding, when asked by
the court whether he understood the plea agreement and his
rights, Manjikian consistently answered that he was aware
of the particular details of the agreement and had entered the
agreement voluntarily.
   [12] We have repeatedly held that the voluntary entry of a
guilty plea or a plea of no contest waives every defense to a
charge, whether the defense is procedural, statutory, or con-
stitutional.38 This includes the right against double jeopardy;
we have held that such exceptions include the defenses of
insufficiency of the indictment, information, or complaint;
ineffective assistance of counsel; and lack of jurisdiction.39

36
     See Johnson v. Zerbst, 304 U.S. 458, 58 S. Ct. 1019, 82 L. Ed. 2d 1461     (1938). See, also, Ricketts v. Adamson, 483 U.S. 1, 107 S. Ct. 2680, 97 L.
     Ed. 2d 1 (1987) (Brennan, J., dissenting).
37
     Johnson, supra note 36.
38
     See State v. Biernacki, 237 Neb. 215, 465 N.W.2d 732 (1991).
39
     State v. Start, 239 Neb. 571, 477 N.W.2d 20 (1991).
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                            STATE v. MANJIKIAN
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The record in this case is clear. Manjikian waived his right
against double jeopardy when he entered into the plea agree-
ment; therefore, Manjikian’s assignment of error with regard
to being put twice in jeopardy is without merit.

Sentence.
   Manjikian next assigns as error that the court abused its dis-
cretion in sentencing him to a term of incarceration. Manjikian
argues that the district court relied on improper informa-
tion contained in the presentence investigation and on com-
ments made by the prosecution alleging, without evidence,
that Manjikian was involved in organized crime. His argument
appears to further contend that probation would have been the
appropriate sentence in this case.
   An appellate court will not disturb a sentence imposed
within the statutory limits absent an abuse of discretion by the
trial court.40 A judicial abuse of discretion exists when the rea-
sons or rulings of a trial judge are clearly untenable, unfairly
depriving a litigant of a substantial right and denying just
results in matters submitted for disposition.41
   [13,14] When imposing a sentence, the sentencing court is
to consider the defendant’s (1) age, (2) mentality, (3) education
and experience, (4) social and cultural background, (5) past
criminal record or record of law-abiding conduct, and (6) moti-
vation for the offense, as well as (7) the nature of the offense,
and (8) the amount of violence involved in the commission of
the crime.42 However, the sentencing court is not limited to any
mathematically applied set of factors.43 The appropriateness of
a sentence is necessarily a subjective judgment and includes
the sentencing judge’s observation of the defendant’s demeanor

40
     Steele, supra note 3.
41
     Clemens, supra note 4.
42
     State v. Wofford, 298 Neb. 412, 904 N.W.2d 649 (2017).
43
     State v. Mora, 298 Neb. 185, 903 N.W.2d 244 (2017).
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                       STATE v. MANJIKIAN
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and attitude and all the facts and circumstances surrounding the
defendant’s life.44
   Here, the record establishes that the district court reviewed
the presentence investigation report and considered all appro-
priate sentencing factors. The comments made by the district
court noted at sentencing that the “facts and circumstances of
this case” were “somewhat disturbing.” Although the presen-
tence report and comments made by the prosecution regard-
ing Manjikian’s alleged connections to organized crime were
largely unsubstantiated, there is no indication that the district
court’s sentence turned solely on those claims.
   The court’s comments at sentencing do not indicate that the
district court considered any inappropriate factors in deter-
mining the sentence to be imposed. The presentence report
contains significant findings regarding Manjikian’s violent
criminal history, unauthorized possession of weapons, previ-
ous flight from justice, and propensity for poor impulse control
and decisionmaking. Based on the facts and circumstances sur-
rounding Manjikian’s life and the crime charged, we cannot say
that the district court abused its discretion in sentencing him to
180 days’ incarceration.
   Manjikian’s assignment of error regarding the court’s deci-
sion to sentence him to 180 days in jail is without merit.
Ineffective Assistance of Counsel.
   Lastly, Manjikian claims that he received ineffective assist­
ance of counsel in violation of his 6th Amendment right as
applied to the states through the Due Process Clause of the
14th Amendment. Manjikian contends that his trial counsel’s
performance fell below the range of competence demanded of
attorneys in criminal cases.
   Specifically, Manjikian points to four instances in particular
in which he claims trial counsel was deficient. First, Manjikian
argues that his codefendant had signed a written confession

44
     Id.
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                             STATE v. MANJIKIAN
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and was prepared to testify that the controlled substance was
not Manjikian’s. Manjikian argues that trial counsel was inef-
fective in advising Manjikian that his codefendant’s statement
and proposed testimony would not be sufficient to convince a
jury. Second, Manjikian claims that trial counsel advised him
a jury would likely convict him based on his being from out
of state and that this erroneous advice caused Manjikian to
enter into a plea agreement rather than proceed to trial. Third,
Manjikian claims that trial counsel incorrectly advised him that
observing his codefendant “do something” with the substance
upon the officer’s initiating the traffic stop was sufficient
evidence to sustain a conviction for the crime with which he
was charged, leading him to forgo his right to trial.45 Lastly,
Manjikian contends that his counsel failed to protect his rights
against double jeopardy by not filing a plea in bar.
   [15] To prevail on a claim of ineffective assistance of
counsel under Strickland v. Washington,46 the defendant must
show that counsel’s performance was deficient and that this
deficient performance actually prejudiced his or her defense.47
The two prongs of this test may be addressed in either
order, and the entire ineffective assistance analysis should
be viewed with a strong presumption that counsel’s actions
were reasonable.48
   [16,17] Normally, a voluntary guilty plea waives all
defenses to a criminal charge. However, in a postconviction
proceeding brought by a defendant convicted because of a
guilty plea or a plea of no contest, a court will consider an
allegation that the plea was the result of ineffective assistance
of counsel.49 When a conviction is based upon a guilty plea,

45
     Brief for appellant at 20.
46
     Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674     (1984).
47
     State v. Ash, 293 Neb. 583, 878 N.W.2d 569 (2016).
48
     Id.49
     State v. Amaya, 276 Neb. 818, 758 N.W.2d 22 (2008).
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                             STATE v. MANJIKIAN
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the prejudice requirement for an ineffective assistance of
counsel claim is satisfied if the defendant shows a reasonable
probability that but for the errors of counsel, the defendant
would have insisted on going to trial rather than plead-
ing guilty.50
   The likelihood of the defense’s success had the defendant
insisted on going to trial is relevant to the prejudice analy-
sis51; it is relevant to the consideration of whether a rational
defend­ant would have insisted on going to trial.52 The like-
lihood of the defense’s success had the defendant gone to
trial should be considered along with other factors, such as
the likely penalties the defendant would have faced if con-
victed at trial, the relative benefit of the plea bargain, and the
strength of the State’s case.53
   Where, as here, appellate counsel is different from trial
counsel, a defendant must raise on direct appeal any issue of
ineffective assistance of trial counsel which is known to the
defendant or is apparent from the record, or the issue will be
procedurally barred on postconviction review.54 An ineffective
assistance of counsel claim is raised on direct appeal when the
claim alleges deficient performance with enough particularity
for (1) an appellate court to make a determination of whether
the claim can be decided upon the trial record and (2) a district
court later reviewing a petition for postconviction relief to be
able to recognize whether the claim was brought before the
appellate court.55
   [18,19] The fact that an ineffective assistance of counsel
claim is raised on direct appeal does not necessarily mean

50
     State v. Armendariz, 289 Neb. 896, 857 N.W.2d 775 (2015).
51
     See State v. Yos-Chiguil, 281 Neb. 618, 798 N.W.2d 832 (2011).
52
     Id.53
     Id.54
     State v. Watt, 285 Neb. 647, 832 N.W.2d 459 (2013).
55
     Ash, supra note 47.
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                        STATE v. MANJIKIAN
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that it can be resolved on direct appeal.56 The determining
factor is whether the record is sufficient to adequately review
the question.57 An ineffective assistance of counsel claim
will not be resolved on direct appeal if it requires an eviden-
tiary hearing.58
   In this case, the State submits that the record is sufficient to
resolve Manjikian’s claims of ineffective assistance of counsel
and contends that Manjikian’s claims are without merit. In
regard to Manjikian’s claim that his codefendant had signed
a written confession and was prepared to testify that the con-
trolled substance was not Manjikian’s, the State directs our
attention to Manjikian’s own admissions which clearly refute
any potential testimony of his codefendant. As to Manjikian’s
claim that trial counsel’s statement as to the risk of conviction
based on Manjikian’s being from out of state, the State con-
tends that such claims are betrayed by Manjikian’s own admis-
sion to law enforcement. The State argues that Manjikian’s
admissions would have carried substantial weight which alone
could have led to a conviction. The State directs our atten-
tion to the recorded jail telephone call between Manjikian and
a sheriff’s deputy in which Manjikian admitted that he had
been in possession of “Adderall,” an admission that supported
Manjikian’s plea.
   In regard to Manjikian’s claim that trial counsel failed to
protect his right against double jeopardy, the record clearly
refutes his claim, because he knowingly, intentionally, and vol-
untarily agreed, as a part of the plea agreement with the State,
to forfeit the money to the federal government. Moreover,
as noted above, the plea agreement specifically recited that
Manjikian “waives his rights as they relate to claims of
double jeopardy pursuant to the United States Constitution

56
     Id.
57
     Id.
58
     Id.
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                             STATE v. MANJIKIAN
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Amendment V, [and] the Nebraska State Constitution Article I,
section 12.” Therefore, unlike the defendants in Franco 59 and
Spotts,60 Manjikian was not subjected to successive criminal
prosecutions, but instead agreed to the forfeiture and reduced
criminal charge in exchange for his plea.
   Given the fact that Manjikian and his codefendant were
transporting $234,956 on their persons, as well as in various
sealed containers, while being in possession of an amount
of methamphetamine and in a vehicle rented to Manjikian’s
brother, who was incarcerated at the time of the rental agree-
ment, it cannot be said that Manjikian’s defense had a strong
likelihood of success on the merits. This is especially true given
the fact that Manjikian admitted to law enforcement that he had
been in possession of “Adderall,” a controlled substance.
   Had the plea agreement not been reached, Manjikian
was facing a charge of possession of a controlled substance
(amphetamine), a Class IV felony under § 28-416(3), which
carries a potential maximum sentence of 2 years’ imprison-
ment and 12 months’ postrelease supervision or a $10,000 fine,
or both, and a minimum sentence of 9 months’ postrelease
supervision, if imprisonment is imposed.61 In light of the
potential penalty he faced, had Manjikian not pled to the lower
Class I misdemeanor, the weight of the evidence and the fact
that our ineffective assistance analysis is viewed with a strong
presumption that counsel’s actions were reasonable, we cannot
say that Manjikian’s trial counsel was ineffective in regard to
the plea agreement.
   Further, we cannot say that trial counsel was incorrect
in advising Manjikian regarding possession. We have previ-
ously stated that “possession of an illegal substance can be
inferred from a vehicle passenger’s proximity to the substance

59
     Franco, supra note 27.
60
     Spotts, supra note 21.
61
     See Neb. Rev. Stat. § 28-105 (Reissue 2016).
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or other circumstantial evidence that affirmatively links the
passenger to the substance.”62 Given this prior holding and
Manjikian’s admission, we cannot say that Manjikian’s claim
that his codefend­ant was willing to testify and provide a writ-
ten statement as to being the alleged true possessor of the
controlled substance rises to the level of establishing that
Manjikian suffered actual prejudice as a result of choosing to
enter a plea instead of risking a trial. Trial counsel is afforded
due deference to formulate trial strategy and tactics, and we
are not to second-guess trial counsel’s reasonable strategic
decisions when reviewing claims of ineffective assistance
of counsel.63

                         CONCLUSION
   The district court did not err in finding that Manjikian made
a free, voluntary, knowing, and intelligent plea. Additionally,
the district court did not err in accepting the plea as it did not
violate double jeopardy, because Manjikian waived his rights
as evidenced by the language of the plea agreement. Further,
the district court did not abuse its discretion in sentencing
Manjikian to a term of incarceration. Lastly, Manjikian did
not receive ineffective assistance of trial counsel.
   The decision of the district court is affirmed.
                                                      A ffirmed.

62
     State v. Draganescu, 276 Neb. 448, 478, 755 N.W.2d 57, 85 (2008).
63
     See State v. Rocha, 286 Neb. 256, 836 N.W.2d 774 (2013).
